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                                                                      District Ot istrict Court
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

 UNITED STATES OF AMERICA,                  CR 17-55-BLG-SPW -:J.,.

             Plaintiff,
                                            ORDER
      vs.

 JAIRO SEBASTIAN VELA-DIAZ,

             Defendant.


      Upon the United States' Unopposed Motion to Dismiss Indictment Without

Prejudice (Doc. 36) and for good cause appearing,

      IT IS HEREBY ORDERED that the indictment filed on May 4, 2017, in this

case is DISMISSED WITHOUT PREJUDICE against the defendant, Jairo

Sebastian Vela-Diaz.

      IT IS FURTHER ORDERED that trial in this matter set for September 18,

2017 is VACATED.
                          ~
      DATED this //        day of September, 2017.


                                            ~(J.~
                                            SlJSANP:WATTERS
                                            United States District Judge
